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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                            No. CR 10-1534 JB

EDWARD CHRISTY,

               Defendant.

                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on the Letter from Edward Christy to the Court

(dated June 26, 2012), filed June 26, 2012 (Doc. 217)(“Letter”). The primary issues are: (i) whether

the Court should conduct a judicial inquiry into the alleged prosecutorial misconduct that Defendant

Edward Christy asserts occurred in his case; (ii) whether Christy may obtain a new trial under rule

33 of the Federal Rules of Criminal Procedure; (iii) whether Christy may seek a reduction in his

sentence; (iv) whether Christy may pursue a civil action in this lawsuit; and (v) whether the Court

should sustain objections Christy has raised to the Re-Disclosed Presentence Investigation Report,

disclosed February 8, 2012 (“Re-Disclosed PSR”). The Court will not conduct a judicial inquiry

into the alleged prosecutorial misconduct. To the extent that Christy seeks a new trial under rule

33, relief is not available to him under that rule, because he has pled guilty. To the extent that

Christy seeks a reduction of his sentence, the Court does not have authority to reduce Christy’s

sentence. Christy’s appropriate vehicle may be to seek a reduction of his sentence through a direct

appeal to the United States Court of Appeals to the Tenth Circuit and/or a petition under 28 U.S.C.

§ 2255. To the extent that Christy seeks damages from state or federal officials for prosecutorial

misconduct, a civil lawsuit under 42 U.S.C. § 1983, under the state equivalent of that statute, or
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through a cause of action for malicious prosecution may be the appropriate vehicle for him to seek

damages. The Court will not permit any such civil action to proceed in this case, and Christy must

file a separate civil lawsuit if he intends to seek damages. To the extent that Christy has not already

raised the objections to the Re-Disclosed PSR which he has now raised in his Letter, those

objections are untimely. Pursuant to Christy’s request, the Court will file Christy’s Letter on the

District of New Mexico’s Case Management/Electronic Case Filing (“CM/ECF”) system.

                                PROCEDURAL BACKGROUND

        A federal grand jury indicted Christy on a superceding indictment with: (i) one count of

Transportation with Intent to Engage in Criminal Sexual Activity, in violation of 18 U.S.C.

§ 2423(a); and (ii) three counts of Possession of a Matter Containing Visual Depictions of Minors

Engaged in Sexually Explicit Conduct, in violation of 18 U.S.C. §§ 2252(a)(4)(b), 2252(b)(2), and

2256. See Superseding Indictment at 1-3, filed April 26, 2011 (Doc. 93). On September 30, 2011,

Christy pled guilty to Counts 1 and 2 in the Information, filed September 30, 2011 (Doc. 193),

charging him in Count 1 with a violation of 18 U.S.C. § 2422(a), that being coercion and enticement,

and in Count 2 with a violation of 18 U.S.C. §§ 2252(a)(4)(b), 2252(b)(2), and 2256, that being

possession of matter containing visual depictions of minors engaged in sexually explicit conduct.

See Plea Agreement ¶ 3, at 2 (Doc. 195). The Plea Agreement stipulates, under rule 11(c)(1)(C) of

the Federal Rules of Criminal Procedure, to a “term of imprisonment of 9 years (108 months).” Plea

Agreement ¶ 9, at 5. “Both parties agree that neither a request for an upward departure nor a request

for a downward departure is permitted by either of the parties.” Plea Agreement ¶ 9, at 5. Christy

“agrees not to seek a downward departure or variance from the stipulated sentence of 9 years

imprisonment.” Plea Agreement ¶ 12, at 11. Christy agrees to waive “the right to appeal [his]

convictions and any sentence that is consistent with the sentence agreed to by the parties in” the Plea

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Agreement, “as well as any fine and/or restitution ordered by the Court.” Plea Agreement ¶ 22, at

14-15.

         The United States Probation Office (“USPO”) disclosed a Presentence Investigation Report

(“PSR”) for Christy on December 13, 2011. The USPO re-disclosed the PSR on February 8, 2012,

to address some concerns that the United States had raised. In the Re-Disclosed PSR, the USPO

does not group Counts 1 and 2 pursuant to application note 2 to U.S.S.G. § 3D1.2. See Re-

Disclosed PSR ¶ 58, at 18. For Count 1, the USPO calculates Christy’s base offense level to be 24.

See PSR ¶ 50, at 17. The Re-Disclosed PSR includes a 2-level upward adjustment for Count 1 under

U.S.S.G. § 2G1.3(b)(2)(B), because Christy exercised undue influence over Jane Doe. See Re-

Disclosed PSR ¶ 51, at 17-18. The Re-Disclosed PSR includes a 2-level upward adjustment for

Count 1 under U.S.S.G. § 2G1.3(b)(3), because “the offense involved the use of a computer or an

interactive computer service” to “communicate directly with Jane Doe.” Re-Disclosed PSR ¶ 52,

at 18. The Re-Disclosed PSR includes a 2-level upward adjustment for Count 1 under U.S.S.G.

§ 2G1.3(b)(4), because “the offense involved the commission of a sex act or sexual contact.” Re-

Disclosed PSR ¶ 53, at 18.

         For Count 2, the USPO calculates a base offense level of 18 pursuant to U.S.S.G.

§ 2G2.2(a)(1). See Re-Disclosed PSR ¶ 59, at 18. The USPO applies a 2-level enhancement for

Count 2 under U.S.S.G. § 2G2.2(b)(2), because some of the material found in Christy’s possession

“involved a prepubescent minor or a minor who had not attained the age of 12 years.” Re-Disclosed

PSR ¶ 60, at 19.      The USPO applies a 4-level enhancement for Count 2 under U.S.S.G.

§ 2G2.2(b)(4), because “the offense involved material that portrays sadistic or masochistic conduct

or other depictions of violence.” Re-Disclosed PSR ¶ 61, at 19. The USPO relates that “the

defendant possessed one image of a prepubescent minor with an adult penis in her mouth” on one

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of his computers. Re-Disclosed PSR ¶ 61, at 19. The USPO asserts that the “image appears to be

sadistic as pain and humiliation is caused to this child.” Re-Disclosed PSR ¶ 61, at 19. The USPO

notes that the image represents “conduct sufficiently likely to involve pain to support a finding that

it is inherently ‘sadistic or violent.’” Re-Disclosed PSR ¶ 61, at 19. The USPO applies a 5-level

enhancement for Count 2 under U.S.S.G. § 2G2.2(b)(5), because Christy “engaged in a pattern of

activity involving the sexual abuse or exploitation of a minor.” Re-Disclosed PSR ¶ 62, at 19. The

USPO applies a 2-level enhancement for Count 2 under U.S.S.G. § 2G2.2(b)(6), because “the

offense involved the use of a computer or an interactive computer service for the possession,

transmission, receipt, or distribution of the” pornographic material. Re-Disclosed PSR ¶ 62, at 19.

The USPO applies a 5-level enhancement for Count 2 under U.S.S.G. § 2G2.2(b)(7)(D), because

“the offense involved more than 600 images.” Re-Disclosed PSR ¶ 64, at 20. The PSR calculates

an adjusted offense level of 36 for Count 2. See Re-Disclosed PSR ¶ 68, at 20.

       After making an adjustment for the multiple counts under U.S.S.G. § 3D1.4, the USPO

calculates a combined adjusted offense level of 37. See Re-Disclosed PSR ¶¶ 69-75, at 20. The Re-

Disclosed PSR includes a 3-level reduction under U.S.S.G. § 3E1.1 based on Christy’s acceptance

of responsibility. See Re-Disclosed PSR ¶ 76, at 20. The Re-Disclosed PSR calculates a total

offense level of 34. See Re-Disclosed PSR ¶ 77, at 20. The Re-Disclosed PSR lists his criminal

history category as I, based on 0 criminal history points. See Re-Disclosed PSR ¶ 80, at 21. The

Re-Disclosed PSR calculates that an offense level of 34 and a criminal history category of I results

in a guideline imprisonment range of 151 to 188 months. See Re-Disclosed PSR ¶ 107, at 27.

       The Court held a sentencing hearing on May 23, 2012. The Court accepted the parties’ plea

agreement under rule 11(c)(1)(C) of the Federal Rules of Criminal Procedure and sentenced Christy

to 108-months imprisonment. The Court imposed a term of lifetime supervised release. The Court

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has not yet entered a judgment and commitment order for Christy.

        On June 26, 2012, Christy sent his Letter to the Court. See Doc. 217. He asks the Court to

“open a judicial investigation into prosecutorial misconduct” regarding “unethical and criminal

activity” in which “both federal and state Executive Branch entities” allegedly engaged. Letter at

1. Christy relates:

                While prosecutorial actions were most egregious in my case, in that they
        involve false charges and withholding of material evidence from the state grand jury,
        collaboration to use state prosecutorial authority to unethically advantage federal
        prosecutors has been employed in cases other than mine. I was charged by the State
        of New Mexico with two counts of criminal sexual penetration in the second degree,
        and with four counts of producing child pornography. At the time of the indictment,
        prosecutors had affirmative evidence that the alleged crimes had not even happened;
        not merely a case of insufficient evidence to support the allegations. These charges
        were brought in collaboration with AUSA Charlyn Rees to justify an unreasonably
        high $200,000 cash bond. This denied me liberty, due process of law and irreperably
        [sic] prejudiced my defense against subsequent federal charges.

Letter at 1. Christy states that, “[i]f the Court determines that a judicial inquiry is not warranted, I

ask that this petition, and the enclosed articles be entered into the record for use in any subsequent

judicial actions.” Letter at 2. Christy contends that the two state charges for “criminal sexual

penetration” brought against him “were both baseless, and obtained as a result of criminal

misconduct in that prosecutors withheld exculpatory material evidence from the grand jury.” Letter

at 3. Christy argues that, “[h]ad state and federal prosecutors acted truthfully, ethically, and within

the law to only bring charges for which evidence existed, this case would have been concluded long

ago.” Letter at 4. Christy asserts that, “[b]y conspiring to deny my 5th, 6th and 8th Amendment

rights, the prosecution virtually assured that the truth of this case could never be recovered.” Letter

at 5. Christy contends that Assistant United States Attorney Charlyn E. Rees improperly represented

to the Court that Christy had been “meeting minors online for sex” and “trad[ing] child

pornography” without evidence to support those conclusions. Letter at 6. Christy states that he is

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“neither confirming nor denying the element of intent as specified in the charges to which I pled.”

Letter at 9. Christy argues that Jane Doe, the minor involved in the charges to which Christy pled

guilty, was the one who initiated sexual intercourse with him. See Letter at 9-10. Christy relates

that Jane Doe had a difficult home life and that he was trying to help her. See Letter at 10-11.

Christy objects to what he refers to as several “small inaccuracies” in the Re-Disclosed PSR. Letter

at 13-14. Christy does not specify the relief he requests, specifically whether he requests a reduction

of his sentence, damages, or some other remedy.

                                  LAW REGARDING RULE 33

       Rule 33 provides:

       (a)     Defendant’s Motion. Upon the defendant’s motion, the court may vacate
               any judgment and grant a new trial if the interest of justice so requires. If the
               case was tried without a jury, the court may take additional testimony and
               enter a new judgment.

       (b)     Time to File.

               (1)     Newly Discovered Evidence. Any motion for a new trial grounded
                       on newly discovered evidence must be filed within 3 years after the
                       verdict or finding of guilty. If an appeal is pending, the court may
                       not grant a motion for a new trial until the appellate court remands
                       the case.

               (2)     Other Grounds. Any motion for a new trial grounded on any reason
                       other than newly discovered evidence must be filed within 14 days
                       after the verdict or finding of guilty.

Fed. R. Crim. P. 33. “A motion for a new trial is not regarded with favor and is only issued with

great caution.” United States v. Herrera, 481 F.3d 1266, 1269-70 (10th Cir. 2007)(citing United

States v. Trujillo, 136 F.3d 1388, 1394 (10th Cir. 1998)). Ordinarily, a district court’s denial of a

motion for a new trial is reviewed for abuse of discretion. See United States v. Herrera, 481 F.3d

at 1270 (citing United States v. Quintanilla, 193 F.3d 1139, 1146 (10th Cir. 1999)).


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       The Tenth Circuit has concluded that a defendant may not invoke rule 33 when he or she has

pled guilty:

                Rule 33 of the Federal Rules of Criminal Procedure, which authorizes
       motions for new trial, applies only to cases in which a trial, either to the court or to
       a jury, has taken place. Here defendant pleaded guilty; there was no trial. Case law
       on this point, although not plentiful, supports counsel’s conclusion that “the validity
       of a guilty plea cannot be questioned by way of a motion for new trial.” Counsel’s
       Brief at 5. See United States v. Prince, 533 F.2d 205, 208 (5th Cir. 1976); Williams
       v. United States, 290 F.2d 217 (5th Cir. 1961)(per curiam). It follows that it was not
       error to deny appellant’s motion for a new trial.

United States v. Lambert, 603 F.2d 808, 809 (10th Cir. 1979)(emphasis in original). Accord United

States v. Graciani, 61 F.3d 70, 78 (1st Cir. 1995)(citing United States v. Lambert, 603 F.2d at

809)(“By its express terms, Rule 33 is confined to those situations in which a trial has been had. . . .

[A]ppellant admitted his guilt, abjuring a trial. A defendant who enters a guilty plea cannot

thereafter use Rule 33 as a wedge to undo his acknowledgement that he committed the offense.”

(emphasis in original)). In 2005, the Tenth Circuit restated this same proposition. See United States

v. Calabaza, 158 F.App’x 968, 969 (10th Cir. 2005)(unpublished)(“The district court correctly ruled

that a Rule 33 motion is a legally incorrect vehicle for challenging a guilty plea.”).

   RELEVANT LAW ON CORRECTION AND CLARIFICATION OF JUDGMENTS
                AND THE RECORD IN CRIMINAL CASES

       “A district court does not have inherent authority to modify a previously imposed sentence;

it may do so only pursuant to statutory authorization.” United States v. Mendoza, 118 F.3d 707, 709

(10th Cir. 1997). See United States v. Vigil, No. 05-2051, 2010 WL 2301708, at *3-4 (D.N.M. May

4, 2010)(Browning, J.). As the Tenth Circuit has explained:

       A district court is authorized to modify a Defendant’s sentence only in specified
       instances where Congress has expressly granted the court jurisdiction to do so.
       Section 3582(c) of Title 18 of the United States Code provides three avenues through
       which the court may “modify a term of imprisonment once it has been imposed.” A
       court may modify a sentence: (1) in certain circumstances “upon motion of the

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       Director of the Bureau of Prisons”; (2) “to the extent otherwise expressly permitted
       by statute or by Rule 35 of the Federal Rules of Criminal Procedure”; or (3) “upon
       motion of the defendant or the Director of the Bureau of Prisons,” or on the court’s
       own motion in cases where the applicable sentencing range “has subsequently been
       lowered by the Sentencing Commission.”

United States v. Blackwell, 81 F.3d 945, 947-48 (10th Cir. 1996)(footnote omitted)(citation

omitted).1 Rule 35 authorizes a district court to reduce or correct a sentence in certain situations.

See Fed. R. Crim. P. 35. “‘[S]entencing’ means the oral announcement of the sentence.” Fed. R.

Crim. P. 35(c). Under rule 35(a), “[w]ithin 14 days after sentencing, the court may correct a

sentence that resulted from arithmetical, technical, or other clear error.”2 Fed. R. Crim. P. 35(a).

The Tenth Circuit has referred to the term sentence as meaning “the punishment imposed.” United

States v. Wittig, 206 F.App’x 763, 769 (10th Cir. 2006)(unpublished). “A sentence is formally

imposed at the point when the district court announces it from the bench, and not at the point when

the written judgment of order and commitment is entered -- meaning that Rule 35’s seven-day

period runs from the oral imposition of the sentence.” United States v. Mendoza, 543 F.3d 1186,

1195 n.7 (10th Cir. 2008)(emphasis in original). Under subsection (b), a court may reduce a

sentence for substantial assistance in certain situations “[u]pon the government’s motion.” Fed. R.

Crim. P. 35(b).

       Rule 36 allows a court, at any time, to “correct a clerical error in a judgment, order, or other

part of the record, or correct an error in the record arising from oversight or omission.” Fed. R.

Crim. P. 36. The Tenth Circuit has held that rule 36 “allows correction of only non-substantive


       1
        Congress twice amended 18 U.S.C. § 3582, in 1996 and in 2004, since the Tenth Circuit’s
decision in United States v. Blackwell; however, neither of these amendment substantively affects
the Tenth Circuit’s analysis.
       2
         Amendments that took effect on December 1, 2009, extended the period of time in which
a court can correct these “clear” errors from seven days to fourteen days.

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errors, and does not ‘give the court authority to substantially modify a Defendant’s sentence.’”

United States v. Lonjose, 663 F.3d 1292, 1299 n.7 (10th Cir. 2011). The United States Court of

Appeals for the Third Circuit has similarly stated: “[C]ourts and commentators are thus unanimous

that Rule 36 may not be used to amend a sentence to include an additional term of imprisonment,

fine, or imposition of costs.” United States v. Bennett, 423 F.3d at 278. The United States Court

of Appeals for the Fifth Circuit has stated that “Rule 36 [is] the appropriate mechanism for

amendments that do not substantively alter the sentence announced orally but rather correct errors

in written judgments.” United States v. Spencer, 513 F.3d 490, 491 (5th Cir. 2008). The United

States Court of Appeals for the Second Circuit has stated that “Rule 36 covers only minor,

uncontroversial errors.” United States v. Werber, 51 F.3d 342, 347 (2d Cir. 1995).

       The Third Circuit has explained how rule 36 operates:

               While Rule 36 allows a court to correct clerical errors or errors of oversight
       or omission “in the record,” it only allows correction of clerical errors in the
       judgment or order. This difference in language is important. While Rule 36
       provides a broad mandate to correct a variety of errors in ancillary parts of the record
       -- the dates of documents, the indictment, etc. -- it provides only a strictly limited
       authority to correct the court’s judgment or order. The judgment of a court, unlike
       the rest of the court’s record, has legal effect; substantive changes to the judgment
       may normally be made only by appellate review or similar procedures.

United States v. Bennett, 423 F.3d 271, 278 (3d Cir. 2005)(quoting 26 J. Moore, Moore’s Federal

Practice ¶ 636.02[3] (3d ed. 2005)). The Tenth Circuit has similarly stated that rule 36 permits the

correction of “clerical-type errors” in a judgment. United States v. Blackwell, 81 F.3d at 948.

Accord United States v. Vaughan, 119 F.App’x 227, 230 (10th Cir. 2004)(unpublished)(“When a

judgment and commitment order contains a clerical error, we may remand for correction.”).

       The Third Circuit has provided the following definition for a clerical error: “[A] clerical error

must not be one of judgment or even of misidentification, but merely of recitation, of the sort that


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a clerk or amanuensis3 might commit, mechanical in nature.” United States v. Guevremont, 829

F.2d 423, 426 (3d Cir. 1987)(quoting Dura-Wood Treating Co. v. Century Forest Indus., 694 F.2d

112, 114 (5th Cir. 1982)). The Fifth Circuit has stated, in an unpublished opinion, that, “[w]hile

there may be circumstances where the line between clerical error and judicial error is unclear, we

have generally found that correction of a clerical error occurs when the modification neither affects

a party’s substantive rights nor contradicts the court’s and the parties’ intentions as to the judgment.”

United States v. Crawley, Nos. 11-60061, 11-60065, 2012 WL 715068, at *2 (5th Cir. Mar. 6,

2012)(unpublished)(citing United States v. Spencer, 513 F.3d at 491).

        In United States v. Blackwell, the Tenth Circuit reversed the district court’s re-sentencing

of a co-defendant seventy-two days after the original sentencing. See 81 F.3d at 946. In that case,

the defendant, who received an initial sentence of 15 months imprisonment, moved the court for a

re-sentencing, because, “three days prior to his sentencing, Defendant’s supplier pleaded guilty to

distributing fifty-five ounces of cocaine and the United States District Court for the District of Utah

sentenced her to probation.” Id. The district court held a re-sentencing hearing seventy-two days

after the original sentencing, and, at that hearing, reduced the defendant’s sentence to “three-years

probation, with six-months home detention.” Id. at 947. In explaining its authority to modify the

defendant’s sentence, the district court relied on “two alternative sources of authority . . . : (1) the

court’s ‘inherent jurisdiction’ to right injustices, and (2) Fed. R. Crim. P. 35.” Id.

        The Tenth Circuit rejected the district court’s reliance on rule 35, rule 36, and its “inherent

authority,” and concluded that “the court lacked jurisdiction to resentence Defendant.” United



        3
        An amanuensis is “a literary or artistic assistant, in particular one who takes dictation or
copies manuscripts.” New Oxford American Dictionary 48 (A. Stevenson & C. Lindberg eds., 3d
ed. 2010).

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States v. Blackwell, 81 F.3d at 949. The Tenth Circuit concluded that rule 35(a) did not apply,

“because the court did not correct Defendant’s sentence within seven days after the original sentence

was imposed, but resentenced Defendant seventy-two days later.” Id. (discussing then rule 35(c)).4

The Tenth Circuit also held that rule 35(b) did not apply: “Because subsection (b) applies only to

motions made by the government, a defendant cannot invoke Rule 35(b) and empower the court to

reduce his sentence.” Id.

                                             ANALYSIS

       The Court will not conduct a judicial inquiry into the alleged prosecutorial misconduct. To

the extent that Christy seeks a new trial under rule 33, relief is not available to him under that rule,

because he has pled guilty. To the extent that Christy seeks a reduction of his sentence, the Court

does not have authority to reduce Christy’s sentence. Christy’s appropriate vehicle may be to seek

a reduction of his sentence through a direct appeal and/or a petition under 28 U.S.C. § 2255. To the

extent that Christy seeks damages from state or federal officials for prosecutorial misconduct, a civil

lawsuit under 42 U.S.C. § 1983, under the state equivalent of that statute, or through a cause of

action for malicious prosecution may be the appropriate vehicle for him to seek damages. The Court

will not permit any such civil action to proceed in this case, and Christy should file a separate civil

lawsuit if he intends to seek damages. To the extent that Christy has not already raised the

objections to the Re-Disclosed PSR which he has now raised in his Letter, those objections are

untimely. Pursuant to Christy’s request, the Court will file Christy’s Letter on CM/ECF.




       4
         “Former Rule 35(c), which addressed the authority of the court to correct certain errors in
the sentence, is now located in Rule 35(a).” Fed. R. Crim. P. 35 advisory committee’s note to 2002
amendments.

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I.     BECAUSE CHRISTY PLED GUILTY, RELIEF UNDER RULE 33 IS NOT
       AVAILABLE TO HIM.

       It is not clear whether Christy seeks a new trial under rule 33. Construing his pro se Letter

liberally, the Court will address whether relief under rule 33 is appropriate. Rule 33 provides:

       (a)     Defendant’s Motion. Upon the defendant’s motion, the court may vacate
               any judgment and grant a new trial if the interest of justice so requires. If the
               case was tried without a jury, the court may take additional testimony and
               enter a new judgment.

       (b)     Time to File.

               (1)     Newly Discovered Evidence. Any motion for a new trial grounded
                       on newly discovered evidence must be filed within 3 years after the
                       verdict or finding of guilty. If an appeal is pending, the court may
                       not grant a motion for a new trial until the appellate court remands
                       the case.

               (2)     Other Grounds. Any motion for a new trial grounded on any reason
                       other than newly discovered evidence must be filed within 14 days
                       after the verdict or finding of guilty.

Fed. R. Crim. P. 33. The Tenth Circuit has concluded that a defendant may not invoke rule 33 when

he or she has pled guilty:

                Rule 33 of the Federal Rules of Criminal Procedure, which authorizes
       motions for new trial, applies only to cases in which a trial, either to the court or to
       a jury, has taken place. Here defendant pleaded guilty; there was no trial. Case law
       on this point, although not plentiful, supports counsel’s conclusion that “the validity
       of a guilty plea cannot be questioned by way of a motion for new trial.” Counsel’s
       Brief at 5. See United States v. Prince, 533 F.2d 205, 208 (5th Cir. 1976); Williams
       v. United States, 290 F.2d 217 (5th Cir. 1961)(per curiam). It follows that it was not
       error to deny appellant’s motion for a new trial.

United States v. Lambert, 603 F.2d at 809 (emphasis in original). Accord United States v. Calabaza,

158 F.App’x at 969 (“The district court correctly ruled that a Rule 33 motion is a legally incorrect

vehicle for challenging a guilty plea.”).

       On September 30, 2011, Christy pled guilty to Counts 1 and 2 in the Information, charging


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him in Count 1 with a violation of 18 U.S.C. § 2422(a), that being coercion and enticement, and in

Count 2 with a violation of 18 U.S.C. §§ 2252(a)(4)(b), 2252(b)(2), and 2256, that being possession

of matter containing visual depictions of minors engaged in sexually explicit conduct. See Plea

Agreement ¶ 3, at 2. Because Christy has pled guilty to these offenses, relief under rule 33 is not

available to him. Thus, the Court will not grant him relief under rule 33.

II.    THE COURT DOES NOT HAVE JURISDICTION TO REDUCE CHRISTY’S
       SENTENCE.

       In his Letter, Christy does not specify the relief he requests beyond asking that the Court

conduct an investigation into prosecutorial misconduct. He does not specify whether he seeks other

relief, such as a reduction of his sentence or damages. The Court has jurisdiction to reduce Christy’s

sentence in only a narrow set of circumstances. Christy’s basis for seeking a reduction in his

sentence does not fall within the narrow set of circumstances that Congress has provided which

enable district courts to reduce sentences for criminal defendants. Christy’s appropriate vehicle to

seek a reduction of his sentence may be through a direct appeal and/or a petition under 28 U.S.C.

§ 2255.

       “A district court does not have inherent authority to modify a previously imposed sentence;

it may do so only pursuant to statutory authorization.” United States v. Mendoza, 118 F.3d at 709.

As the Tenth Circuit has explained:

       A district court is authorized to modify a Defendant’s sentence only in specified
       instances where Congress has expressly granted the court jurisdiction to do so.
       Section 3582(c) of Title 18 of the United States Code provides three avenues through
       which the court may “modify a term of imprisonment once it has been imposed.” A
       court may modify a sentence: (1) in certain circumstances “upon motion of the
       Director of the Bureau of Prisons”; (2) “to the extent otherwise expressly permitted
       by statute or by Rule 35 of the Federal Rules of Criminal Procedure”; or (3) “upon
       motion of the defendant or the Director of the Bureau of Prisons,” or on the court’s
       own motion in cases where the applicable sentencing range “has subsequently been
       lowered by the Sentencing Commission.”

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United States v. Blackwell, 81 F.3d at 947-48 (footnote omitted)(citation omitted). Rule 35

authorizes a district court to reduce or correct a sentence in certain situations. See Fed. R. Crim. P.

35. For purposes of rule 35, “‘sentencing’ means the oral announcement of the sentence.” Fed. R.

Crim. P. 35(c). Under rule 35(a), “[w]ithin 14 days after sentencing, the court may correct a

sentence that resulted from arithmetical, technical, or other clear error.” Fed. R. Crim. P. 35(a). The

Tenth Circuit has referred to the term sentence as meaning “the punishment imposed.” United States

v. Wittig, 206 F.App’x at 769. “A sentence is formally imposed at the point when the district court

announces it from the bench, and not at the point when the written judgment of order and

commitment is entered-meaning that Rule 35’s seven-day period runs from the oral imposition of

the sentence.” United States v. Mendoza, 543 F.3d at 1195 n.7 (emphasis in original). Under

subsection (b), a court may reduce a sentence for substantial assistance in certain situations “[u]pon

the government’s motion.” Fed. R. Crim. P. 35(b).

       The Court has not yet entered a judgment and commitment order for Christy. Nevertheless,

the Court has already sentenced Christy. It sentenced him on May 23, 2012. Christy did not file his

Letter until June 26, 2012. Under rule 35(a), “[w]ithin 14 days after sentencing, the court may

correct a sentence that resulted from arithmetical, technical, or other clear error.” For purposes of

rule 35, “‘sentencing’ means the oral announcement of the sentence.” Fed. R. Crim. P. 35(c). The

Court sentenced Christy over fourteen days ago, and Christy did not file his Letter until

approximately thirty days after the Court orally pronounced his sentence. Thus, the Court does not

have authority under rule 35(a) to reduce Christy’s sentence.

       Under rule 35(b), “[u]pon the government’s motion made within one year of sentencing, the

court may reduce a sentence if the defendant, after sentencing, provided substantial assistance in

investigating or prosecuting another person.” Fed. R. Crim. P. 35(b). Christy has made no argument

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that he has provided substantial assistance to the United States. The Court cannot reduce Christy’s

sentence under rule 35(b).

         A court can also reduce a defendant’s sentence “upon motion of the defendant or the Director

of the Bureau of Prisons,” or on the court’s own motion in cases where the applicable sentencing

range “has subsequently been lowered by the Sentencing Commission.” United States v. Blackwell,

81 F.3d at 947-48. Christy has made no argument that the United States Sentencing Commission

has lowered his sentencing range. Thus, the Court has no grounds to reduce his sentence on this

basis.

         Lastly, Christy is not alleging that there was a clerical error in his sentencing process. Rule

36 allows a court, at any time, to “correct a clerical error in a judgment, order, or other part of the

record, or correct an error in the record arising from oversight or omission.” Fed. R. Crim. P. 36.

The Tenth Circuit has held that rule 36 “allows correction of only non-substantive errors, and does

not ‘give the court authority to substantially modify a Defendant’s sentence.’” United States v.

Lonjose, 663 F.3d at 1299 n.7. Christy is asking the Court to conduct a full-scale investigation into

prosecutorial misconduct. He is not seeking to correct a clerical error such that rule 36 would permit

any relief.

         The Court concludes that Christy’s basis for seeking a reduction in his sentence does not fall

within the narrow set of circumstances which Congress has provided for courts to reduce sentences

of criminal defendants. Christy’s appropriate vehicle to seek a reduction of his sentence may be

through a direct appeal and/or a petition under 28 U.S.C. § 2255.

III.     IF CHRISTY SEEKS DAMAGES, HE SHOULD FILE A CIVIL LAWSUIT.

         To the extent that Christy seeks damages, he should file a separate civil lawsuit. While it

is clear that Christy wants the Court to investigate prosecutorial misconduct, it is not clear whether

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he seeks damages. Additionally, he complains of conduct of state officials who are not parties to

this criminal proceeding. Those considerations counsel against entertaining any request for damages

he seeks, to the extent he seeks any, in this proceeding.

       While there is not an absolute bar against a criminal defendant seeking relief that could be

afforded in a civil suit as part of a criminal proceeding, see In re Special Grand Jury 89-2, 450 F.3d

1159, 1167 (10th Cir. 2006)(stating that “a motion for return of property under Fed.R.Crim.P. 41(g)

is civil rather than criminal”), it is an unusual practice that can be highly disruptive and that courts

generally discourage. The United States Court of Appeals for the Seventh Circuit illustrates the

principle that a civil suit a criminal defendant brings in a criminal case can be disruptive to the

litigation process:

               Because Antonelli filed his “motion” under the district-court cause number
       of his 25-year-old criminal case and even captioned the United States as the plaintiff,
       the district court understandably appears to have viewed the filing as an additional
       motion in that long-finished proceeding. When determining the character of a pro
       se filing, however, courts should look to the substance of the filing rather than its
       label. Gleash v. Yuswak, 308 F.3d 758, 761 (7th Cir. 2002); Godoski v. United
       States, 304 F.3d 761, 763 (7th Cir. 2002). And what Antonelli filed is not a motion
       in the 1978 criminal case but in actuality a separate, unrelated civil action raising a
       facial challenge to a BOP policy. See United States v. Campbell, 294 F.3d 824,
       826-27 (7th Cir. 2002)(per curiam)(recognizing that motion seeking access to grand
       jury transcripts was civil action even though filed under old criminal case number
       because motion had independent jurisdictional basis); Smith v. United States Dist.
       Ct. Officers, 203 F.3d 440, 441 (7th Cir. 2000)(claim for access to judicial court
       records not writ of mandamus but civil action under federal question jurisdiction).
       That distinction leads us to the real problem in this appeal.

              Because Antonelli’s filing is appropriately seen as an attempt to commence
       a new civil suit, the PLRA subjected him to significant procedural constraints and
       potential consequences that he in effect evaded by using his old criminal case
       number. See United States v. Howell, 354 F.3d 693, 695 (7th Cir. 2004); Moran v.
       Sondalle, 218 F.3d 647, 649 (7th Cir. 2000)(per curiam). The PLRA first mandates
       that inmates exhaust their administrative remedies before bringing a civil action
       challenging prison conditions, which is what Antonelli’s “motion” does. See 42
       U.S.C. § 1997e(a); Massey v. Wheeler, 221 F.3d 1030, 1034 (7th Cir. 2000).
       Furthermore, had Antonelli properly designated his filing as a civil action that bears

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       no relation to his 1978 criminal case, the district court would have initially screened
       his claim to determine whether it was frivolous, malicious, or failed to state a claim
       before putting the defendant to the burden of responding. See 28 U.S.C. § 1915A(b);
       Zimmerman v. Tribble, 226 F.3d 568, 571 (7th Cir. 2000). Antonelli thus also
       avoided the risk of incurring a strike should the district court have screened and
       dismissed the suit; after three such strikes, inmates cannot proceed in forma pauperis
       unless under imminent danger of serious physical injury. 28 U.S.C. § 1915(g);
       Pischke v. Litscher, 178 F.3d 497, 500 (7th Cir. 1999); Evans v. Ill. Dept. of Corr.,
       150 F.3d 810, 811 (7th Cir. 1998). In addition, even when granting in forma
       pauperis status, the district court assesses an initial partial filing fee that a prisoner
       must prepay, and the entire filing fee will eventually be deducted from the inmate’s
       prison trust account. See 28 U.S.C. § 1915(b); Hains v. Washington, 131 F.3d 1248,
       1250 (7th Cir. 1997)(per curiam). In this instance, the processing of Antonelli’s
       submission as if it were a motion in his old criminal case enabled Antonelli to escape
       paying up front at least part the $150 filing fee for civil cases, as well as his
       responsibility for paying the entire fee over time from his prison trust account. See
       Moran, 218 F.3d at 649. The same is true with the appellate fees in this court. Had
       Antonelli been required to adhere to limitations imposed by the PLRA, he may have
       decided not to risk the consequences attached to filing a civil suit, or to pursuing it
       on appeal after it had been lost. See Pischke, 178 F.3d at 500 (recognizing that
       prisoners when thwarted from improperly disguising civil action as petition for
       habeas corpus may decide to drop claim rather than risk consequences associated
       with PLRA). Finally, we note that once a district court has granted in forma pauperis
       status and screened a prisoner complaint under § 1915A, it will direct the United
       States Marshals Service to ensure that proper service is effected on the defendant,
       which might have provided the BOP with a better understanding of, and realistic
       opportunity to defend against, Antonelli’s claim (as opposed to Antonelli’s effort,
       which resulted in his “motion” being routed to the criminal division of the United
       States Attorney’s Office for the Northern District of Illinois). See 28 U.S.C. §
       1915(d); Fed.R.Civ.P. 4(c)(2); Graham v. Satkoski, 51 F.3d 710, 712 (7th Cir.
       1995)(Marshals Service is required to serve process on behalf of individuals
       proceeding in forma pauperis); see also Fed.R.Civ.P. 4(I)(1) (civil action challenging
       action of administrative agency must be served on the U.S. Attorney in the
       appropriate district; a copy of the complaint and summons must also be sent to the
       Attorney General and the agency).

United States v. Antonelli, 371 F.3d 360, 361-62 (7th Cir. 2004)(per curiam)(emphasis in original).

The Third Circuit has stated that a district court has discretion to permit what may be civil

proceedings to proceed in a criminal case depending on the circumstances of the case:

               We hold that the refusal of the district court to reopen the criminal
       proceeding for the requested purpose was proper. Rule 48(a) authorizes a United
       States Attorney to dismiss a prosecution not yet brought to trial, subject only to the

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       qualification that he shall obtain leave of court. Only after trial shall have begun is
       the consent of the defendant required. United States v. Chase, 4th Cir. 1967, 372
       F.2d 453. Rule 48(a) expressly stipulates that when a formal ‘dismissal’ is thus filed,
       ‘the prosecution shall thereupon terminate.’ After the Gerardo prosecution had duly
       terminated, the court had no obligation to reopen and enlarge the criminal case in
       order to deal with the collateral matter of the proper future use of evidence never
       introduced in that case, though originally obtained in contemplation of such use.
       These issues can as well and more appropriately be raised in the anticipated new
       criminal proceeding, or even in a civil action for injunctive relief such as the present
       appellants have filed.

                The separate civil suit to restrain federal investigating officers from making
       the fruits of their investigation and search available for use in any state prosecution
       is patterned after the model provided by Rea v. United States, 1956, 350 U.S. 214,
       . . . , where the Supreme Court sanctioned the enjoining of federal agents from
       surrendering to the state authorities evidence which they had obtained by use of an
       invalid search warrant. However, the Rea case exhibits several distinguishing
       features. The search warrant was ‘insufficient on its face, no probable cause existed,
       and the affidavit was based on unsworn statements.’ 350 U.S. at 214-215 . . . .
       Accordingly, in the original federal criminal proceeding the district court had
       entertained and granted a motion to suppress the evidence in question. Thus, the
       injunction applied only to the evidence obtained through an already established
       violation of the Federal Rules of Criminal Procedure. In the court’s view, ‘to enjoin
       the federal agent from testifying is merely to enforce the federal Rules against those
       owing obedience to them. * * * That policy is defeated if the federal agent can flout
       them and use the fruits of his unlawful act either in federal or state proceedings.’
       350 U.S. at 217-218 . . . .

United States v. Boiardo, 408 F.2d 112, 113 (3d Cir. 1969)(alteration in original).

       Sometimes, it is more efficient to permit a criminal defendant to seek civil relief in a criminal

case, such as when a prisoner seeks the return of property seized from him under rule 41 of the

Federal Rules of Criminal Procedure. See Fed. R. Crim. P. 41(g) (“A person aggrieved by an

unlawful search and seizure of property or by the deprivation of property may move for the

property’s return.”). The Seventh Circuit has elaborated on this scenario in the context of rule 41(g)

motion:

              A final obstacle to all of Norwood’s potential remedies, but not necessarily
       an insuperable one in the peculiar circumstances of this case, is that a motion in a
       criminal case is not a proper method of commencing a civil suit. He was proceeding

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       pro se, and “when a district court conducting a Rule 41(e) [now 41(g)] proceeding
       learns that the government no longer possesses property that is the subject of the
       motion to return, the court should grant the movant (particularly a movant
       proceeding pro se . . . ) an opportunity to assert an alternative claim for money
       damages.” “[A] pro se Rule 41(g) motion should be liberally construed to allow the
       assertion of alternative claims.”

               Norwood asked for monetary relief in a separate motion after his Rule 41(g)
       motion was denied. He would have to pay a filing fee in order to convert the motion
       into a proper civil suit, and if he wanted to make a Bivens claim he would have to
       join the officers in their individual capacities as defendants and serve them. But the
       Hall, Albinson, and Peña decisions that we’ve cited would (and Jackson might)
       permit such a conversion when the movant was pro se; and we are not aware of any
       contrary authority.

               This is not to say, and these decisions do not say, that a district judge must
       always, or indeed usually, convert a motion for civil relief in a criminal case into a
       civil complaint. The denial of relief under Rule 41(g) is not with prejudice against
       the movant’s filing a civil suit for the value of property taken from him and then lost.
       Indeed the denial clears the deck for his filing a civil suit and is normally preferable
       to contorting a motion filed under the criminal rules into a civil pleading. The
       wrinkle here is the statute of limitations. Not the statute of limitations for filing a
       claim with the Attorney General under 31 U.S.C. § 3724. That statute has expired
       for good, for Norwood never filed anything with the Attorney General.

United States v. Norwood, 602 F.3d 830, 836-37 (7th Cir. 2010)(citations omitted).

       It is not clear that Christy seeks to institute a civil suit. He has not filed a document that

resembles a complaint under the Federal Rules of Civil Procedure. He requests no specific form of

relief other than a judicial investigation. Furthermore, he does not individually name many of the

persons whom he asserts have wronged him, such as state officials who played a role in the ultimate

prosecution of this federal case. None of those state officials are a part of this proceeding.

Furthermore, government officials are often entitled to qualified immunity for actions taken in

connection with the execution of their duties. Qualified immunity brings with it the ability for these

government officials to limit discovery in a case. “Qualified immunity protects federal and state

officials from liability for discretionary functions, and from ‘the unwarranted demands customarily


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imposed upon those defending a long drawn-out lawsuit.’” Roybal v. City of Albuquerque, No. 08-

0181, 2009 WL 1329834, at *10 (D.N.M. Apr. 28, 2009)(Browning, J.). Qualified immunity is “an

entitlement not to stand trial or face the other burdens of litigation.” Mitchell v. Forsyth, 472 U.S.

511, 526 (1985). Issues of qualified immunity are best resolved at the “earliest possible stage in

litigation.” Pearson v. Callahan, 555 U.S. at 232. The Supreme Court has suggested that, to avoid

unnecessary exposure to burdensome discovery, the preferred practice is for the government

officials to move to dismiss the action based on qualified immunity before discovery is ordered:

       When a plaintiff files a complaint against a public official alleging a claim that
       requires proof of wrongful motive, the trial court must exercise its discretion in a
       way that protects the substance of the qualified immunity defense. It must exercise
       its discretion so that officials are not subjected to unnecessary and burdensome
       discovery or trial proceedings.

Crawford-El v. Britton, 523 U.S. 574, 598 (1998). Furthermore, prosecutors are entitled to absolute

immunity from civil liability in a variety of circumstances. See Mink v. Suthers, 482 F.3d 1244,

1261 (10th Cir. 2007)(“[A] prosecutor is entitled to absolute immunity for those actions that cast

him in the role of an advocate initiating and presenting the government’s case.”). Much like the

scenario the Seventh Circuit discussed in United States v. Antonelli, Christy would effectively be

circumventing these limitations by seeking to maintain a civil suit in this criminal case. See United

States v. Antonelli, 371 F.3d at 361-62.

       In light of these circumstances, the Court believes it is a more appropriate action to deny,

to the extent Christy wishes to bring a civil suit, any request Christy is making to institute a civil

action. To the extent that Christy seeks damages from state or federal officials for prosecutorial

misconduct, a civil lawsuit under 42 U.S.C. § 1983, under the state equivalent of that statute, or

through a cause of action for malicious prosecution is the appropriate vehicle for him to seek

damages. The Court will not permit any such civil action to proceed in this case, and Christy should

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file a separate civil lawsuit if he intends to seek damages.

IV.    TO THE EXTENT CHRISTY OBJECTS TO INFORMATION CONTAINED IN THE
       RE-DISCLOSED PSR, HE HAS WAIVED ANY OBJECTIONS HE HAS NOT
       PREVIOUSLY RAISED BY FAILING TO RAISE THEM IN A TIMELY MANNER.

       Christy objects to what he refers to as several “small inaccuracies” in the Re-Disclosed PSR.

Letter at 13-14. Rule 32(f) of the Federal Rules of Criminal Procedure requires a defendant to:

(i) “[w]ithin 14 days after receiving the presentence report, . . . state in writing any objections,

including objections to material information, sentencing guideline ranges, and policy statements

contained in or omitted from the report”; and (ii) to “provide a copy of [his or her] objections to the

opposing party and to the probation officer.” Fed. R. Crim. P. 32(f). The Court has already

sentenced Christy. He had a full opportunity to raise any objections to the Re-Disclosed PSR before

and at the time of his sentencing. Counsel represented Christy at the sentencing hearing. He raised

many objections to the Re-Disclosed PSR that the Court dealt with at the sentencing hearing and that

the Court will address in writing with its memorandum opinion and order addressing the sentencing

issues. Many of these same objections Christy has already raised in his Defendant’s Objections to

Presentence Report, filed March 15, 2012 (Doc. 203-1), and it is not clear that he is raising any new

objections. There were no obstacles to Christy raising objections to the Re-Disclosed PSR in a

timely manner as required under rule 32(f). To the extent Christy has not already raised the

objections to the Re-Disclosed PSR that he has now raised in his Letter, those objections are

untimely. The Court has already sentenced Christy. Christy maintains that he has “no direct

memory of sexual activity” with Jane Doe and asserts that he “repeatedly denied any memory of

such actions,” Letter at 10, 13, but he admits in his Plea Agreement that he “had sexual intercourse

with Jane Doe at a motel in Needles, California and my Albuquerque, New Mexico residence,” Plea

Agreement ¶ 10, at 7. When a defendant admits to facts in a plea agreement, a court can properly

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rely on those admissions to conclude that, by a preponderance of the evidence, a given fact occurred.

See United States v. Sanders, 990 F.2d 582, 585 (10th Cir. 1993)(“The district court could properly

have found by a preponderance of the evidence that defendant possessed the guns in connection with

his drug trafficking as he admitted in his written plea statement.”), overruled on other grounds by

United States v. Gomez-Arrellano, 5 F.3d 464, 466-67 (10th Cir. 1993). Thus, the Court will

overrule these objections.

V.     GIVEN THAT THE COURT IS NOT ENTERTAINING A HABEAS ACTION OR A
       CIVIL SUIT, THE COURT WILL NOT CONDUCT A JUDICIAL INQUIRY INTO
       ALLEGED PROSECUTORIAL MISCONDUCT.

       The Court does not believe, particularly in light of Christy’s lack of request for any specific

relief, that it is appropriate to conduct a judicial inquiry into any alleged prosecutorial misconduct.

As the Court has already discussed, government officials have a variety of protections from the

burdens of a civil suit in the form of qualified immunity. Prosecutors also have absolute immunity

from civil liability in some instances. If the Court conducted a freewheeling inquiry into

prosecutorial misconduct, it would be circumventing some of these protections. Additionally, any

information the Court discovers would not benefit Christy in terms of his sentence, at least in this

suit, because the Court does not have jurisdiction to reduce Christy’s sentence based on alleged

prosecutorial misconduct. If Christy had raised this issue of prosecutorial misconduct before

sentencing, the Court would be more inclined to conduct some form of inquiry and grant appropriate

relief if any prosecutorial misconduct had occurred. There is little relief that the Court can grant

Christy at this point. If Christy seeks to file a habeas suit, he may do so. He may be able to obtain

some of this information in those proceedings. He may also file a direct appeal to the extent he has

not waived his right to do so.

       American federal courts are not independent, free-standing investigative entities. See Price

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v. Wallette, No. 11-30894, 2012 WL 686996, at *1 (5th Cir. Mar. 2, 2012)(unpublished)(per

curiam)(“Federal courts are given only limited authority. They cannot investigate complaints by

citizens who think they have been mistreated.”). Rather, they decide cases and disputes that the

parties bring to them.      In the course of litigation, parties conduct discovery and private

investigations, but most of that is self-executing, with courts resolving disputes that arise, rather than

conducting the investigation itself. State disciplinary associations and the United States Department

of Justice’s internal disciplinary checks largely regulate the professional conduct of the lawyers who

appear in federal court. While courts have the power to prevent discovery abuse and unethical

conduct that occurs in cases, once a criminal case is closed, there is not much for a court to do. It

must wait for the next case. In summary, courts are not well equipped to “investigate”; they are best

equipped to resolve disputes that arise in litigation. Grand juries, which do investigate, are unique

entities, and United States District Judges have limited involvement in the grand jury process. A

district judge does not -- indeed, no judge -- presides over the grand jury. The United States

Attorney and his or her assistants help the grand jury investigate. Rarely does a district judge know

what the grand jury is investigating. Other than charging the grand jury, picking the jurors, selecting

the foreperson, and resolving some disputes that arise, the district judge has little direct involvement.

Thus, if Christy wants a grand jury to investigate, he will need to contact the United States

Attorney’s Office.

VI.     THE COURT WILL FILE CHRISTY’S LETTER ON CM/ECF.

        Christy states that, “[i]f the Court determines that a judicial inquiry is not warranted, I ask

that this petition, and the enclosed articles be entered into the record for use in any subsequent

judicial actions.” Letter at 2. The Court will file Christy’s Letter on CM/ECF, pursuant to Christy’s

request that the Court do so. The Court generally files letters it receives from the parties on the

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docket to protect the parties’ rights and to maintain a proper record of the proceedings. The Court

sees no reason to deviate from that practice in this instance.

       IT IS ORDERED that the requests for relief contained in the Letter from Edward Christy

to the Court (dated June 26, 2012), filed June 26, 2012 (Doc. 217), are granted in part and denied

in part. The Court will file Defendant Edward Christy’s Letter on CM/ECF. The Court will deny

all other relief Christy has requested.


                                                                 _______________________________
                                                                 UNITED STATES DISTRICT JUDGE


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